Appendix ECF No. 37-11, PagelD.1592 Filed 10/07/24 Page 1 of 2

85
Casd2atseri2 12886: SH2B85 -5GOQNEAS42FG6GeN 02817 dik PHOBID. baQ220 Biilesd 10/07/

57-

58.

59.

60.

61.

2015-CFPB-0013 Document1 Filed 07/08/2015 Page 19 of 49

is likely to cause Consumers substantial injury that is not reasonably avoidable
and if the substantial injury is not outweighed by countervailing benefits to

Consumers or competition.

Respondents’ act and practice of failing to notify Consumers and the courts
once it learned that some or all of the evidentiary support for its judgments was
based on documents that were falsely sworn was likely to cause substantial
injury to Consumers that was not reasonably avoidable or outweighed by any

countervailing benefit to Consumers or to competition.

Thus Respondents engaged in unfair acts and practices in violation of sections
1036(a)(1)(B) and 1031(c)(1) of the CFPA. 12 U.S.C. § 5536(a)(1)(B) and

5531(c)(1).

Findings and Conclusions as to Respondents’
Miscalculation of Judgments

When Respondents filed Debt collection suits against Consumers, their
employees and agents made certain errors in calculating the amounts owed.
Approximately 9% of the judgments that Respondents obtained against
Consumers contained erroneous amounts that were greater than what the
Consumers legally owed.

These erroneous amounts were stated in documents that Respondents
submitted to the court and that formed the basis for the judgments entered
against the Consumers.

Although Respondents halted collection efforts on these accounts after they
became aware of the errors, Respondents’ failure to notify Affected Consumers

and to move to vacate judgments harmed Consumers who paid or were subject

19

P4 Page 2 of 2

86
